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 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   FRANCINE ZEPEDA, Bar #91175
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorneys for Defendant
 6   ROBERT CERVANTES
 7
 8                                   IN THE UNITED STATES DISTRICT COURT
 9                              FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )            No. 1:11-cr-00184 AWI-DOB
                                           )
12                     Plaintiff,          )            STIPULATION AND ORDER TO CONTINUE
                                           )            SENTENCING
13         v.                              )
                                           )
14   ROBERT CERVANTES,                     )            DATE: February 25, 2013
                                           )            TIME: 10:00 a.m.
15                    Defendant.           )            JUDGE: Hon. Anthony W. Ishii
     _____________________________________ )
16
17
18          IT IS HEREBY STIPULATED by and between the parties hereto, through their respective
19   counsel, that the sentencing hearing in the above-captioned matter now set for December 17, 2012, may
20   be continued to February 25, 2013 at 10:00 a.m.
21          This continuance is at the request of counsel for defendant. Counsel was only recently appointed
22   to represent defendant in these sentencing proceedings and needs additional time for case review and to
23   meet with defendant with regard to preparation and filing of any sentencing objections which may be
24   reasonably appropriate on defendant’s behalf prior to hearing. The requested continuance will conserve
25   time and resources for both counsel and the court. Assistant United States Attorney Kimberly Sanchez has
26   no objection to this request.
27   ///
28   ///
     ///
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 1           Because this is a sentencing hearing, no exclusion of time waiver is need for the period of time set
 2   forth herein
 3                                                             BENJAMIN B. WAGNER
                                                               United States Attorney
 4
 5   DATED: November 29, 2012                           By: /s/ Kimberly Sanchez
                                                            MARK J. MCKEON
 6                                                          Assistant United States Attorney
                                                            Attorney for Plaintiff
 7
 8                                                             DANIEL J. BRODERICK
                                                               Federal Defender
 9
10   DATED: November 29, 2012                           By: /s/ Francine Zepeda
                                                            FRANCINE ZEPEDA
11                                                          Assistant Federal Defender
                                                            Attorneys for Defendant
12                                                          ROBERT CERVANTES
13
14
15                                                   ORDER
16
17
18              IT IS SO ORDERED.
19
     Dated:      November 29, 2012
20   0m8i78                                                           UNITED STATES DISTRICT JUDGE
21
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24
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27
28
     Stipulation and Proposed Order
     to Continue Sentencing                                2
